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                                         UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF KENTUCKY
                                                LEXINGTON DIVISION

                   IN RE

                   FAST FLOW PLUMBING, LLC                                              CASE NO. 24-50346
                   DEBTOR                                                              CHAPTER 11 – Sub V


                                     ORDER SETTING STATUS CONFERENCE AND
                                     OTHER DEADLINES IN SUBCHAPTER V CASE

                           The Debtor has requested and received relief pursuant to subchapter V of chapter
                   11 of the United States Bankruptcy Code. The Debtor has thereby become a debtor in
                   possession.

                           It is ORDERED:

                          The status conference pursuant to 11 U.S.C. § 1188(a) shall be held on May 23,
                   2024, at 9:00 a.m. at the United States Bankruptcy Court, Community Trust Bank
                   Building, 100 East Vine Street, Second Floor, Lexington, Kentucky.

                           At least 14 days prior to the date of the status conference, the Debtor shall file
                   a Status Conference Report that details the efforts the Debtor has undertaken and will
                   undertake to attain a consensual plan of reorganization in accordance with 11 U.S.C.
                   § 1188(c) and serve that report on the Subchapter V Trustee, the U.S. Trustee, and all
                   parties in interest.

                           It is further ORDERED that KYEB LBR 3003-1 does not apply to cases under
                   subchapter V. Creditors other than governmental units shall file proof of their claim or
                   interest not later than 70 days following entry of the order for relief. 11 U.S.C.
                   § 502(b)(9) and FED. R. BANKR. P. 3002(c)(1) shall govern the timing of the filing of
                   proof of claims by governmental units.

                          It is further ORDERED that any secured creditor that wishes to make an election
                   under 11 U.S.C. § 1111(b)(2) shall do so no later than 7 days prior to the first date set
                   for a hearing on confirmation of the plan.

                          It is further ORDERED that, within 7 days, the Debtor shall serve a copy of this
                   Order on all creditors and interested parties and file a certificate of service in accordance
                   with KYEB LBR 9022-1.




___________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.


                                                                   Signed By:
                                                                   Gregory R. Schaaf
                                                                   Bankruptcy Judge
                                                                   Dated: Thursday, March 28, 2024
                                                                   (grs)
